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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               BECKLEY DIVISION

FRANK TREADWAY, et al.,
Plaintiffs,
                                                             Civil Action No. 5:16-cv-12149
                                                             Honorable Irene C. Berger
v.

BLUESTONE COAL CORP., et al.,
Defendants.

                           MOTION TO ENFORCE SETTLEMENT

       NOW COME the Plaintiffs, after attempting to confer with the opposing counsel,

regarding the Defendants’ substantial arrearages in settlement payments in this case---amounting

to at least $626,600.01 of unpaid funds as of March 17, 2019. The Plaintiffs have been unable to

secure any response to those recent outreach and conferral efforts. Accordingly, Plaintiffs

humbly MOVE that this Honorable Court order the Defendants to make all outstanding

payments due under the settlement by no later than March 29, 2019, inclusive of all then-current

penalties, so that the class payments may be issued beginning on or after that date in keeping

with the terms of the class notice approved by this Court, and for appropriate sanctions. In

support of this Motion, the Plaintiff states as follows:

       1.      On March 5, 2019, this Court entered an Order (ECF No. 42) approving the final

settlement in this case.

       2.      Pursuant to that Order, the Defendants were subject, in pertinent part, to the

following obligations:

               a. The Defendants agreed to pay $782,000.00 in three equal installments by no
                  later than: September 30, 2018, December 30, 2018, and October 23, 2019.
               b. The Defendants agreed to pay by June 23, 2018 a class representative fee of
                  $10,000.00 apiece, and a class administration fee of $30,000.00 to Mountain
                  State Justice for administering the settlement.
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              c. The Defendants agreed to pay a penalty of One Thousand Dollars ($1,000.00)
                 per day for each day that they are late in making payment to the class counsel,
                 the class representatives, or to the class itself, with the right of a fifteen (15) day
                 grace period. Should a payment be late and not cured within 15 days of the due
                 date, then the penalty of One Thousand Dollars ($1,000.00) for each such late
                 payment will be retroactive to the original due date of the payment.


       3.     The Defendants had failed to make the payments by the timeline set in the

Mediated Settlement Agreement, and the Parties entered a supplemental agreement for those

funds to be paid on the following schedule:

              a. $155,866.67 total of three payments due on January 18 to: 1) common fund,
                 2) class representatives, and 3) class counsel,
              b. $155,866.67 total of three payments due on February 1 to: 1) common fund,
                 2) class representatives, and 3) class counsel,
              c. $155,866.67 total of three payments due on February 15 to: 1) common fund,
                 2) class representatives, and 3) class counsel,
              d. $155,866.67 total of three payments due on March 1 to: 1) common fund, 2)
                 class representatives, and 3) class counsel,
              e. $155,866.67 total of three payments due on March 15 to: 1) common fund, 2)
                 class representatives, and 3) class counsel.

       4.     The Defendants made two initial payments, but then failed to make the three

remaining payments by the deadlines set forth in the supplemental agreement of the Parties.

       5.     The Defendants currently owe the following amounts:

              a. $155,866.67 – total of three payments due February 15 to: 1) common fund,
                 2) class representatives, and 3) class counsel,
              b. $155,866.67 – total of three payments due March 1 to: 1) common fund, 2)
                 class representatives, and 3) class counsel,
              c. $155,866.67 – total of three payments due March 15 to: 1) common fund, 2)
                 class representatives, and 3) class counsel,
              d. $15,000 – late fees for the three payments that were due on February 1 and
                 paid on February 6. ($3,000/day x 5)
              e. $90,000 – late fees for the three payments that were due on February 15 and
                 not yet paid. ($3,000/day x 30 as of 3/17)
              f. $48,000 – late fees for the three payments that were due on March 1 and not
                 yet paid. ($3,000/day x 14 as of 3/17)
              g. $6,000 – late fees for the three payments that were due on March 15 and not
                 yet paid. ($3,000/day x 2 as of 3/17)
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       6.      Because the penalties of $3,000.00 per day have been insufficient to catalyze

compliance with this obligation under the Court’s order, a more stringent sanction appears

necessary in order to incent the Defendants to timely adhere to the Order of this Court.

       WHEREFORE, Plaintiffs respectfully request that this Court hold a hearing to review

the status of this settlement, that the Court order the Defendants to comply with the settlement

terms set forth above by making the outstanding payment as soon as possible, and that the Court

assess such further sanctions or penalties as it may deem necessary and just. Plaintiffs further

request that they be awarded the reasonable fees and costs associated with preparing and

prosecuting this Motion to Enforce, and such other relief that the Court deems equitable and just.

                                                                                   Plaintiffs,
                                                         Frank Treadway, Joey Clark Hatfield,
                                                                    and Charles W. Hensley,
                                                                                 By counsel,

                                                             /s/ Samuel B. Petsonk____________
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